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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                    CASE NO. 8:04-CR-567-T-17


JUAN MARTINEZ
                                       /
                                             ORDER

       This cause comes before the Court on the defendant’s motion for modification of
sentence, the requested modification was based on the retroactive application of revised cocaine
base sentencing guidelines (Docket No. 161). The Court appointed counsel in this case and
required responses from the United States Probation Office, the government, and the defendant
through his appointed counsel. The Court has received and reviewed the responses (Docket Nos.
162 and 164 and Probation’s Amended Retroactive Crack Cocaine Amendment Eligibility
Assessment). All responses concur that the defendant is not eligible for a reduction in sentence
based on the amended guidelines. Accordingly, it is.


       ORDERED that defendant’s motion for modification of sentence, the requested
modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Docket No. 161) be denied.


       DONE AND ORDERED in Chambers in Tampa, Florida this 23rd day of January, 2009.




Copies furnished to: All Counsel of Record
